         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                         No. 1D2023-3238
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DEMETRIUS LAMONT LEWIS,

    Petitioner,

    v.

STATE OF FLORIDA,

    Respondent.
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Petition for Writ of Certiorari—Original Jurisdiction.


                         August 21, 2024


PER CURIAM.

   DISMISSED. See Eutsay v. State, 103 So. 3d 181, 183 (Fla. 1st
DCA 2012).

ROBERTS, BILBREY, and M.K. THOMAS, JJ., concur.
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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Stacy A. Scott, Public Defender, and Kristofer W. Eisenmenger,
Assistant Public Defender, Gainesville, for Petitioner.

Ashley Moody, Attorney General, Tallahassee, for Respondent.




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